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                             IN THE UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF WYOMING

                                 __________________________________

THE TRIAL LAWYERS COLLEGE, a
nonprofit corporation,

         Plaintiff,

vs.

GERRY SPENCES TRIAL LAWYERS                                  Case Number: 1:20-CV-00080-JMC-GJF
COLLEGE AT THUNDERHEAD RANCH, a
nonprofit corporation, and GERALD L.
SPENCE, JOHN ZELBST, REX PARRIS,
JOSEPH H. LOW, KENT SPENCE, and
DANIEL AMBROSE, individuals, and
GERRY SPENCE METHOD AT
THUNDERHEAD RANCH, INC., a nonprofit
corporation,

         Defendants.                                         .


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                                     ORDER RESETTING HEARING
——————————————————————————————————————————————————————————

         THIS MATTER is before the Court on its Order Setting Hearing in which it noticed for

hearing on December 12, 2024, two motions related to the parties’ settlement agreement. ECF 604.

That Order imposed deadlines for Defendants to file a response to Plaintiff’s Motion to

Enforcement Settlement Agreement [ECF 603] and a reply in support of their Motion for

Contempt1 [ECF 596].

         Together with exhibits, the authorized filings constitute extensive briefing for the Court’s


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  Although Local Rule 7.1(b)(1)(D) requires the parties to seek leave to file reply briefs for motions set for hearing,
no hearing was yet set at the time Defendants’ counsel alerted the Court and opposing counsel via e-mail
communication that they intended to file a reply brief. In its discretion, the Court imposed a deadline for such filing
at the time it set the hearing on Defendant’s Motion for Contempt.
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consideration. Additionally, less than forty-eight hours before the scheduled hearing, Plaintiff has

now filed its Motion for Leave to File Reply Memorandum in Further Support of Motion to

Enforce Settlement Agreement. ECF 608. Although Plaintiff seeks leave to respond to “several

new issues” raised by Defendants in their Opposition, the Motion does not indicate whether

Plaintiff “conferred and made reasonable good faith efforts to resolve the dispute with, or obtain the

consent of, opposing counsel prior to filing the [M]otion,” as is required by Local Rule 7.1(b)(1)(A).

See ECF 608.

           Given the fluid and unsettled condition of the briefing – highlighted by the need to permit

briefing on Plaintiff’s most recent Motion for Leave to File Reply [ECF 608] – and given the need for

the Court to have adequate time to consider all of the briefing before oral argument, the Court will

reset the hearing on the pending motions.

           IT IS THEREFORE ORDERED that the hearing set for December 12, 2024, is

VACATED;

           IT IS FURTHER ORDERED that counsel for the parties shall appear before me on

Friday, January 10, 2025, at 10:00 a.m. MST via Zoom2 for a hearing on Defendants’ Motion

for Contempt [ECF 596] and Plaintiff’s Motion to Enforce Settlement Agreement [ECF 603].

           IT IS FURTHER ORDERED that any party intending to call any witness(es) at the

hearing shall file a notice to that effect not later than 12:00 p.m. MST on Tuesday, January 7, 2025,

providing the name(s) and expected length of direct examination.

           IT IS FINALLY ORDERED that, not later than 12:00 p.m. MST on Tuesday, January

7, 2025, the parties shall file a joint statement indicating whether and in what ways they have been

able to narrow the issues in dispute.


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    The information necessary to access the hearing will be provided separately.


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SO ORDERED.




                              ________________________________________
                              THE HONORABLE GREGORY J. FOURATT
                              UNITED STATES MAGISTRATE JUDGE




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